

People v Almonte (2022 NY Slip Op 05768)





People v Almonte


2022 NY Slip Op 05768


Decided on October 13, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 13, 2022

Before: Renwick, J.P., Friedman, Singh, Shulman,Higgitt JJ. 


Ind. No. 4858/16 Appeal No. 16419 Case No. 2018-5737 

[*1]The People of the State of New York, Respondent,
vRamon Almonte, Defendant-Appellant.


Caprice R. Jenerson, Office of the Appellate Defender, New York (Katrina Jean Myers of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Brent Yarnell of counsel), for respondent.



Judgment, Supreme Court, New York County (Abraham L. Clott, J.), rendered September 13, 2018, convicting defendant, upon his plea of guilty, of conspiracy in the second degree and criminal sale of a controlled substance in the third degree, and sentencing him to concurrent terms of 7 to 14 years and 8 years, respectively, unanimously modified, as a matter of discretion in the interest of justice, to the extent of reducing the sentence for the conspiracy conviction to a term of 6 to 12 years, and otherwise affirmed.
We find the sentence excessive to the extent indicated.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 13, 2022








